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COMPILED

ORDINANCES

OF THE

CITY OF OMAHA.

EMBRACING ALL THOSE OF A GENERAL NATURE IN FORCE JULY 81st, 1881; aLso,
MANY OF A SPECIAL, LOCAL AND MORE IMPORTANT CHARACTER, INCLUDING THOSE
PASSED DURING THE MONTHS OF AUGUST, SEPTEMBER AND OCTOBER, 1881,
AFTER THE COMPILATION WAS COMPLETED ; TO WHICH IS ADDED MUCH
OTHER VALUABLE MATTER—THE WHOLE BEING PREFIXED BY
THE CONSTITUTION OF THE STATE AND THE ACTS OF THE
LEGISLATURE GOVERNING CITIES OF THE FIRST-CLASS.

COMPILED AND ARRANGED UNDER THE IMMEDIATE SUPERVISION OF

CHAMPION 8S. CHASE.

PUBLISHED BY ORDER OF THE CITY COUNCIL.

: OMAHA, NEB:
GIBSON, MILLER & RICHARDSON PRINTERS.
1881,

A 6,6,"

‘
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PEACE—DISTURBANCE OF, 69

counsel. The trial may be adjourned from time to time as the council shall
deem necessary.

Sec. 8. ‘Contempt by witness.)--If any person shall refuse to at-
tend as a witness at such trial, the council may order his arrest by the ser-
geant-at-arms, and such person when arrested shall be punished for the
contempt by fine not to exceed fifty dollars, or by imprisonment not to ex-
ceed ten days, or otherwise as the council may direct. All witnesses shall
be examined under oath or affirmation.

Sec. 4. (Conduct of trial.}—After hearing the proof on both sides
the prosecution and defense may each, in the order named, once address the
council, and for such length of time as the council shall determine. All
questions arising during the progress of the trial shall be determined by the
president in the first instance, subject to an appeal to the council by either
party. Atthe close of the arguments, the council, by a vote of ayes and
noes, shall determine as to the truth of the charge, or charges, or any of _
them. If the charge or charges, or any of them are sustained, the council ~
may take such action in declaring the removal from office of the person
accused, as to them may seem proper. The mayor by and with the consent

“ of the city council, may suspend any officer from office whenever charges

have been preferred against him, and pending the trial of the same, and
may fill the temporary vacancy by appointment, except in case of the trial
of any member of the city council; and in case the mayor is suspended the
president of the council shall act as mayor.

Sec. 5. (Removal of employes.!-—Nothing herein contained shall
be construed as interfering in any way with the right of the city council to
examine into charges against any appointed officer or employe of the city,
by a committee of the council, and in such manner as they may determine,
but the couneil shall have the right so to do, and any such officer may be
removed from office at any time by the mayor, by and with the consent of
the city council. No elective officer shall be removed the seeond time for
the same offense. .

CHAPTER XXXI.—Peacs---DisturBANCE OF.

Section 1. [Fighting, intoxication, etc.)}---It shall be unlawful
for any person to disturb the good order and peace of the city of Omaha by
making any loud or unusual noise; or by fighting or threatening to fight,
by tumultuous threatenings, or offensive carriage, or by being intoxicated
on the streets, or in any public place in said city, or in any private place
without the consent of the owner, or by using any obscene or profane lan-
guage in the streets or other public places to the annoyance of citizens.

Sec. 2. [Indecent acts.)---It shall be unlawful for any person or
persons to indulge in any indecent or disorderly conduct, or any lewd or
ascivious behavior in the streets or other public places in the city of
Omaha, or to commit any indecent, immodest or filthy act within the limits
of said city in the presence of any person, or in such a situation that per-
sons passing might ordinarily see the same.

Ec. 38. ‘Indecent dress,}---It shall be unlawful for any person to
appear in any public place in said city in a state of nudity, or in a dress
not belonging to his or her sex, or in an indecent or lewd dress.

Sec. 4. [Indecent pictures, books or plays.)---It shall be unlaw-
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ful for any person to exhibit, sell, or offer for sale, or to dispose of in any
manner any indecent or lewd book, picture or other thing, or to exhibit any
indecent, immoral, or lewd play or other representation within said city,
and any person who shall violate any of the provisions of this section or of
the preceding sections of this chapter, or who shall in any manner other
than is herein specified, willfully or maliciously disturb the public peace of
said city, shall, on conviction thereof, be fined in any sum not exceeding
fifty dollars,

Sec. 5. ‘Fire-arms and fire-works.}---If any person shall un-
necessarily discharge any fire-arms, or shoot off any fire-crackers, or other
fire-works, or shall light or throw any fire-ball or crackers, in said city,
without permission of the mayor, such person so doing, shall, on convic-
tion thereof, be fined in any sum not exceeding twenty dollars. The city
council may by resolution suspend the operation of the above provision of:
this section, on the Fourth of July or any other day of public rejoicing.

Sec. 6. (Concealed weapons, |--If any person shall carry any con-
cealed weapon or weapons, or have concealed on or about his or her person
any revolver, pistol, slungshot, bowie knife, or other deadly weapon or in-
strument, such person shall be deemed guilty of a misdemeanor, and, on
conviction thereof, shall be fined in any sum not exceeding twenty dollars.
The foregoing provisions shall not apply to officers whose duties require that
they should carry arms, nor to well known and worthy citizens, or persons
of good repute, who may carry arms for their own protection in going to
or from their place or places of business, if such business ’be lawful.

Sec. 7. [Disorderly houses.)—Any person or association of persons
who shall permit in his, her, or their house, out-house, yard, or other prem-
ises under his, her, or their control, any gambling with cards, dice, or other
implements or devices used in gambling, or who shall permit any loud or
unusual noises therein, or shall suffer or permit any person or persons to
fight or threaten to fight in such premises, shall be deemed guilty of a mis-
demeanor, and, on conviction thereofp shall be fined in any sum not to ex-
ceed twenty dollars. .

Sec. 8. (Gaming.’—Any person or persons who shall keep a house
for the purpose of gambling therein, or who shall suffer or permit other per-
sons to come there, or to frequent and come together there for the purpose of
gaming, and every person who in any public place shall play for money or
other valuable thing at cards, dice, or in any other manner, or shall bet at
faro, keno, or any other game, shall be deemed guilty of a misdemeanor, and,
en conviction thereof, shall be fined in any sum not exceeding twenty dol-
ars.

Sec. 9. [(Vagrants and swindlers,)—Any and all persons who shall
loiter about the city for the space of ten days without having some known
legal occupation or means of support, and all suspicious persons who can
give no reasonable account of themselves, which said classes of persons
are usually termed vagrants, and al! watch stuffers, ball game players,
and all other persons who shall practice the game known as three-card
monte or any game trick or device with intent to swindle may be arrested
with or without warrant, by the marshal or any policeman of the city, and
upon conviction of any act herein set forth, shall be deemed guilty of a mis-
demeanor, and shall be fined in the sum of twenty dollars and be impris-
oned for a term of thirty days. ‘As amended May 13, 1873.)

Sec. 10. [Additional penalty.)—In addition to the penalty herein-
before affixed to any ofiense mentioned in the first eight sections of this

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